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                         UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

                                    NORFOLK DIVISION
                                 Friday, September 3, 2021
MINUTES OF PROCEEDINGS IN              Open Court
PRESENT: THE HONORABLE RAYMOND A. JACKSON, U.S. DISTRICT JUDGE
Deputy Clerk: P. Thompson                               Reporter: Carol Naughton, OCR


 Set: 10:00 a.m.               Started: 10:00 a.m.            Ended:    3:00 p.m.

 Case No.   2:18cv226 / 2:19cv475 (consolidated)
                        Martin J. Walsh, Secretary of Labor,
                         United States Department of Labor,
                                      Plaintiff
                                            v.
                       Medical Staffing of America, LLC,
   a limited liability company doing business as Steadfast Medical Staffing
                                       And
                                Lisa Ann Pitts,
      individually and as owner and officer of the aforementioned company
                                   Defendants
   Attorney’s Ryma Lewis, Mohamed Seifeldein, and Chervonti Jones appeared on
 behalf of plaintiff.
   Attorney’s Julia Rust and Joshua Jewett appeared on behalf of the
 defendants. Defendant Lisa Pitts present.



  Matter came on for trial by Court (Day #4).
  Plaintiff continued presentation of evidence – witnesses sworn and
 testified.
  Exhibits admitted.
  Objections heard and rulings made on the record.
  Plaintiff rests.




  Court adjourned until Tuesday, September 7, 2021 at 10:00 a.m.


  (Lunch Recess: 12:50pm – 2:30pm)
